 Case 8:15-cv-00718-JVS-DFM Document 268 Filed 10/06/17 Page 1 of 4 Page ID #:8360




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   Page]
14
                   IN THE UNITED STATES DISTRICT COURT
15
                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
16
17 In re SFPP Right-of-Way Claims            CASE NO. SACV 15-00718 JVS
18                                           (DFMx)
19                                           JOINT STATUS REPORT
20                                           Judge: Hon. James V. Selna
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 Case 8:15-cv-00718-JVS-DFM Document 268 Filed 10/06/17 Page 2 of 4 Page ID #:8361




 1        This case is stayed, and on appeal in part to the United States Court of
 2 Appeals for the Ninth Circuit. On September 8, 2017, the Court removed this
 3 action from the active caseload, and ordered the parties to file a status report not
 4 later than October 6, 2017, with successive reports every 120 days (Doc. 267).
 5        By order of August 15, 2017, the Court of Appeals denied Plaintiffs’ Rule
 6 23(f) Petition for Permission to Appeal relating to this Court’s Order denying class
 7 certification.
 8        Union Pacific’s interlocutory appeal from this Court’s partial dismissal of
 9 Union Pacific’s counterclaims is fully briefed and set for argument on December 7,
10 2017, in Pasadena.
11        The parties’ next status report is due February 2, 2018.
12
13
     Dated: October 6, 2017                   Respectfully submitted,
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                                  JOINT STATUS REPORT
 Case 8:15-cv-00718-JVS-DFM Document 268 Filed 10/06/17 Page 3 of 4 Page ID #:8362




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                                   JOINT STATUS REPORT
 Case 8:15-cv-00718-JVS-DFM Document 268 Filed 10/06/17 Page 4 of 4 Page ID #:8363




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                                JOINT STATUS REPORT
